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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH DAKOTA
                                    WESTERN DIVISION

                        Jeffrey L. Viken United States Chief Judge Presiding

 Courtroom Deputy - KMH                                 Court Reporter – Sheri Not Help Him
 Courtroom - RC #1                                      Date – April 24, 2019

                                          5:17-cv-5042-JLV

 HOLLI TELFORD,                                                     Not Present

                     Plaintiff,

                         vs.

 RON A BRADEEN; BRADEEN REAL                                    Gregory J. Bernard
 ESTATE; JEFF STORM;
 JIM BULTSMA;                                                  Gregory J. Erlandson
 JIM ASHMORE; SOUTHERN HILLS                                   Gregory H. Wheeler
 TITLE COMPANY;
 MORNINGSIDE PROPERTIES,                                         Michael L. Luce


                    Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 3:00 PM

 TIME:

3:00 PM Enter Evidentiary Hearing before the Hon. Jeffrey L. Viken, Chief Judge, presiding.

Pro se plaintiff is not present.

The Court makes remarks regarding the purpose of the evidentiary hearing.

Sandra Thielen sworn in as witness on behalf of the Defendants and is examined by Mr. Bernard.

Tammy Ludeman sworn in as witness on behalf of the Defendants and is examined by Mr.
Bernard.

Matthew Thelen sworn in as witness on behalf of the Defendants and is examined by Mr.
Bernard.
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Wendy Carlson sworn in as witness on behalf of the Defendants and is examined by Mr.
Bernard.

Gregory J. Bernard makes closing remarks on behalf of the Defendants.

The Court takes the matter under advisement.

4:42 PM Court adjourned.
